               Case
                Case2:24-cv-10354-WLH-SK
                     2:24-cv-09094-RGK-AS Document
                                           Document27-5
                                                    15 Filed
                                                        Filed01/27/25
                                                              05/09/25 Page
                                                                        Page11ofof22 Page
                                                                                      PageID
                                                                                           ID
                                                 #:112
                                                 #:156


                      1   JOHN J. ATALLAH, Bar No. 294116
                           jatallah@foley.com
                      2   SAVANNAH L. LEVIN, Bar No. 347929
                           slevin@foley.com
                      3   FOLEY & LARDNER LLP
                          555 S Flower St., Suite 3300
                      4   Los Angeles, CA 90071-2411
                          Telephone: 213.972.4500
                      5   Facsimile: 213.486.0065
                      6   Attorneys for Defendant Maximus, Inc.
                      7
                      8                       IN THE UNITED STATES DISTRICT COURT
                      9                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
                   10
                   11     ARTIS-RAY: CASH JR.,                          Case No. 2:24-cv-09094-RGK-AS
                   12                         Plaintiff,                DEFENDANT MAXIMUS, INC.’S
                                                                        NOTICE OF SETTLEMENT
                   13             v.
                   14     MAXIMUS, INC,                                 Assigned to Hon. R. Gary Klausner
                   15                         Defendant.                Complaint Filed: October 22, 2024
                   16
                   17
                   18
                   19
                   20
                   21
                   22
                   23
                   24
                   25
                   26
                   27
                   28
FOLEY & LARDNER LLP
                                                           EXHIBIT E       MAXIMUS, INC.’S NOTICE OF
   ATTORNEYS AT LAW
     LOS ANGELES
                                                              14- 1 -                     SETTLEMENT
                                                                         CASE NO. 2:24-CV-09094-RGK-AS
                          4896-3536-5905.3
               Case
                Case2:24-cv-10354-WLH-SK
                     2:24-cv-09094-RGK-AS Document
                                           Document27-5
                                                    15 Filed
                                                        Filed01/27/25
                                                              05/09/25 Page
                                                                        Page22ofof22 Page
                                                                                      PageID
                                                                                           ID
                                                 #:113
                                                 #:157


                      1           TO THE HONORABLE R. GARY KLAUSNER, ALL PARTIES AND
                      2   TO THEIR ATTORNEYS OF RECORD:
                      3           PLEASE TAKE NOTICE THAT pursuant to pursuant to L.R. 16-15.7,
                      4   Plaintiff Artis-Ray: Cash Jr. (“Plaintiff”) and Defendant Maximus, Inc.
                      5   (“Defendant”) hereby jointly notify the Court that the Parties have reached a
                      6   settlement in principle in the above-entitled matter, subject to executing a final
                      7   settlement agreement by both parties.
                      8           The Parties request that the Court vacate all pending due dates and hearings
                      9   and retain jurisdiction over this case until the parties finalize the terms of the
                   10     settlement and fully perform their duties under the forthcoming settlement
                   11     agreement.
                   12             The parties anticipate being in a position to file a joint stipulation of
                   13     dismissal with prejudice within 30 days of this notice.
                   14
                   15      Dated: January 27, 2025
                                                                       /s/ Artis Ray: Cash Jr.
                   16                                                  Artis-Ray: Cash Jr.
                                                                       Plaintiff
                   17
                          Dated: January 27, 2025                     FOLEY & LARDNER LLP
                   18                                                 John J. Atallah
                   19                                                 Savannah L. Levin

                   20                                                 /s/ John J. Atallah
                                                                      John J. Atallah
                   21                                                 Savannah L. Levin
                   22                                                 Attorneys for Defendant Maximus, Inc.
                   23     * Pursuant to Local Rule 5-4.3.4(a)(2)(i), I attest that the other signatory listed, and
                   24     on whose behalf this filing is submitted, concurs in the filing content and has
                   25     authorized this filing.
                   26
                          DATED: January 27, 2025                     /s/ John J. Atallah
                   27                                                 John J. Atallah
                   28
FOLEY & LARDNER LLP
                                                           EXHIBIT E          MAXIMUS, INC.’S NOTICE OF
   ATTORNEYS AT LAW
     LOS ANGELES
                                                              15- 2 -                        SETTLEMENT
                                                                            CASE NO. 2:24-CV-09094-RGK-AS
                          4896-3536-5905.3
